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                                                      April23,    2018


VIA HAND DELIVERY AND ECF FILING
Honorable Mary F. Walrath
United States Bankruptcy Court
District of Delaware
824 North Market Street, 5th Floor
V/ilmington, DE 19801

          Re:         RCS     Creditor Trust v. Schulte Roth & Zabel LLP Adv. Pro. 18-50204 (MFW)

Dear Judge Walrath:

         This firm represents defendant, Schulte Roth & Zabel LLP ("Defendant"), in the above-
captioned adversary proceeding (the "Adversary Proceeding"). I write with respect to the
pretrial status conference scheduled for April 24'2018.

       Defendant requests that the Court defer entering a scheduling order in the Adversary
Proceeding until thii Court's disposition of Defendant's Motion for Order Transferring
Adversary Proceeding Under 28 U.S.C. $ 1412 and Fed. R. Bank. P. 7087 (the "Motion to
Transfer';), which has been fully briefed (see, Notice of Completion of Briefing [D.I. 16]).

           Because the Adversary Proceeding remains subject to transfer, the entry of a scheduling
order by this Court presently is not ripe. Upon this Court's disposition of the Motion to Transfer,
the parties quickly will be in position to determine whether a scheduling order is required to be
entered by this Court and,          if   so, to negotiate same.

                                                                                 tted,




AGL/dKK
cc: Counsel of Record, via ECF




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